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6                  IN THE UNITED STATES DISTRICT COURT FOR THE

7                         EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-03-5417 OWW
                                       )
10                                     )       ORDER DEEMING LETTER TO BE
                                       )       MOTION FOR REDUCTION OF
11                      Plaintiff,     )       SENTENCE AND DENYING DEEMED
                                       )       MOTION
12                vs.                  )
                                       )
13                                     )
     MANUELITA ROMERO,                 )
14                                     )
                                       )
15                      Defendant.     )
                                       )
16                                     )

17        On September 23, 2005, Manuelita Romero sent a letter to the

18   court in which she requests that the court reduce the sentence

19   imposed on her because of her personal and family circumstances

20   and because of the efforts she has made in prison to complete her

21   education.    The court deems Romero’s letter to be a motion for

22   reduction of sentence.1

23        Romero pleaded guilty to possession of methamphetamine with

24

25        1
           Although this action has been transferred to the docket of
     Judge Oliver Wanger since Romero was sentenced, the court resolves
26   the instant motion because the court sentenced Romero.

                                           1
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1    intent to distribute.     Romero was sentenced on March 14, 2005 to

2    46 months in custody, 60 months supervised release, and a $10,000

3    fine.    No appeal was filed.

4         The court denies Romero’s deemed motion for reduction of

5    sentence.   The court has no authority to grant Romero’s request.

6    Neither Rule 35, Federal Rules of Criminal Procedure, nor 18

7    U.S.C. § 3582 authorize a reduction in Romero’s sentence for the

8    grounds stated by Romero.

9         IT IS SO ORDERED.

10   Dated:   October 7, 2005                      /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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